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     AECOM ENERGY &
7    CONSTRUCTION, INC.
8                       UNITED STATES DISTRICT COURT
9                     CENTRAL DISTRICT OF CALIFORNIA
10
11   AECOM ENERGY &                   )    CASE NO. 2:17-cv-05398
     CONSTRUCTION, INC., an Ohio      )
12   Corporation,                     )    COMPLAINT FOR INJUNCTIVE
                                      )    RELIEF AND DAMAGES FOR:
13                Plaintiff,          )
                                      )    1. FALSE DESIGNATION OF
14        v.                          )       ORIGIN/AFFILIATION/
                                      )       PASSING OFF;
15   JOHN RIPLEY, an individual; TODD )    2. FALSE ADVERTISING;
     HALE, an individual; GARY        )    3. CYBERPIRACY;
16   TOPOLEWSKI, an individual;       )    4. CA COMMON LAW UNFAIR
     HENRY BLUM, an individual; BUD )         COMPETITION;
17   ZUKALOFF, an individual;         )    5. CA STATUTORY UNFAIR
     “MORRISON KNUDSEN                )       COMPETITION;
18   CORPORATION,” a Nevada           )    6. CA STATUTORY FALSE
     Corporation; “MORRISON-          )       ADVERTISING;
19   KNUDSEN COMPANY, INC.,” a        )    AND
     Nevada Corporation; “MORRISON- )      7. PETITION FOR
20   KNUDSEN SERVICES, INC.,” a       )       CANCELLATION OF A
     Nevada Corporation; and          )       REGISTERED MARK
21   “MORRISON-KNUDSEN                )
     INTERNATIONAL INC.,” a Nevada )       DEMAND FOR JURY TRIAL
22   Corporation,                     )
                                      )
23                Defendants.         )
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24                                    )
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1          Plaintiff AECOM Energy & Construction, Inc. (“AECOM”) brings this action
2    against Defendants for injunctive relief and damages. The allegations herein are made
3    based on personal knowledge as to AECOM and its own actions and interactions, and
4    upon information and belief as to all other matters.
5                                      INTRODUCTION
6          1.     This case is about a remarkable fraud by Defendants to usurp the identity
7    and goodwill of Morrison Knudsen Corporation, an iconic company in modern
8    American history, whose accomplishments include some of this nation’s greatest and
9    most well-known engineering and construction feats (“MK”). In doing so, Defendants
10   have falsified corporate records, submitted false statements to both federal and state
11   government agencies, and have created a website www.morrison-knudsen.com (the
12   “Fraudulent Website”) on which they falsely claim that MK’s previous projects, as
13   well as its long and storied past, is their own. Through this website, they offer for sale
14   to the public used construction equipment and seek equity stakes in other projects—all
15   by fraudulently trading on the knowledge, experience, and business reputation of MK.
16         2.     AECOM, the successor to MK, sent a cease and desist letter to
17   Defendants to reach a resolution to this matter. Defendants’ brazen response was to
18   accuse AECOM of attempting to trade off MK’s goodwill—the goodwill that rightly
19   belongs to AECOM. AECOM tried again to resolve this matter without court
20   intervention, explaining the acquisitions that form the basis for AECOM’s rights.
21   This time, Defendants did not respond. As of this date, Defendants continue to
22   impersonate MK, a company with which they have no actual relationship. AECOM
23   thus files this action to enjoin Defendants from further fraudulent use of MK’s name,
24   trademarks and corporate records, and from falsely asserting or taking any further
25   action to convey an affiliation or other relationship with MK, including through the
26   use of the Fraudulent Website.
27                                        THE PARTIES
28         3.     Plaintiff AECOM is an Ohio corporation with its principal place of
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1    business located at 1999 Avenue of the Stars, Suite #2600, Los Angeles, California
2    90067. AECOM is an engineering firm that provides a wide range of services,
3    including design, construction, technical services, management and capital. Formerly
4    known as Morrison Knudsen Corporation and then as Washington Group
5    International, AECOM was the registered owner of MK’s trademark rights in the
6    United States.
7          4.    Defendant Morrison Knudsen Corporation is a Nevada Corporation, with
8    its principal place of business at 2049 Century Park East, Suite 3850, Los Angeles,
9    California 90067 (diagonally across the street from that of AECOM).
10         5.    Defendant Morrison-Knudsen Company, Inc. is a Nevada Corporation,
11   with its principal place of business at 2049 Century Park East, Suite 3850, Los
12   Angeles, California 90067.
13         6.    Defendant Morrison Knudsen International Inc. is a Nevada Corporation,
14   with its principal place of business at 2049 Century Park East, Suite 3850, Los
15   Angeles, California 90067.
16         7.    Defendant Morrison-Knudsen Services, Inc. is a Nevada Corporation,
17   with its principal place of business at 2049 Century Park East, Suite 3850, Los
18   Angeles, California 90067.
19         8.    Defendant John Ripley is an individual residing and working in Los
20   Angeles, California, and, along with the other individual Defendants, controls the
21   Defendant entities.
22         9.    Defendant Gary Topolewski is an individual residing and working in Los
23   Angeles, California, and, along with the other individual Defendants, controls the
24   Defendant entities.
25         10.   Defendant Todd Hale is an individual residing and working in Los
26   Angeles, California, and, along with the other individual Defendants, controls the
27   Defendant entities.
28         11.   Defendant Bud Zukaloff is an individual residing and working in Los

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1    Angeles, California, and, along with the other individual Defendants, controls the
2    Defendant entities.
3           12.       Defendant Henry Blum is an individual residing and working in Los
4    Angeles, California, and, along with the other individual Defendants, controls the
5    Defendant entities.
6           13.       At all relevant times, each of the Defendants was the agent and alter ego
7    of each other Defendant, acting for and on behalf of each of the other Defendants, all
8    of whom act as a single enterprise, with unity of purpose and control.
9                                   JURISDICTION AND VENUE
10          14.       This action arises under the Lanham Act, 15 U.S.C. §§ 1051 et seq., and
11   California statutory and common law. This Court has subject matter jurisdiction
12   pursuant to 15 U.S.C. § 1121 et seq., and 28 U.S.C. §§ 1331 (federal question
13   jurisdiction), 1338(a) and 1338(b). This Court has supplemental jurisdiction over the
14   Fourth, Fifth, and Sixth Causes of Action below, pursuant to 28 U.S.C. § 1367(a).
15          15.       Each of the Defendants is subject to personal jurisdiction in this Court
16   based on continuous and systematic contacts within this judicial district. In multiple
17   documents filed with government entities, Defendants state that their address is 2049
18   Century Park East Suite 3850, Los Angeles, CA 90067.
19          16.       Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b), (c) and
20   (d) because a substantial amount of the events and injury occurred in this judicial
21   district and Defendants themselves claim to operate their principal place of business in
22   this district.
23                                         BACKGROUND
24          MORRISON KNUDSEN CORPORATION
25          17.       MK was founded in the early part of the 20th Century by Harry Morrison
26   and Morris Knudsen, and became a storied engineering firm. MK’s first successful
27   project was the construction of the Three-Mile Falls Dam in Oregon in 1914. Within
28   twenty years, MK was building such notable projects as the Hoover Dam. By mid-

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1    century, MK had reportedly built over 100 dams, as well as numerous airfields,
2    military bases, ships, and countless other projects, throughout the world. In 1954,
3    TIME magazine’s cover featured Harry Morrison, proclaiming him as “the man who
4    has done more than anyone else to change the face of the earth.”
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12         18.    Over the following forty years, MK would build such notable projects as
13   the San Francisco-Oakland Bay Bridge and the Trans-Alaska Pipeline, to name just
14   two. MK also broadened into railway design and construction, and spun off a separate
15   entity called MK Rail.
16         19.    In 1996, MK and another construction and engineering firm, Washington
17   Construction Group, Inc. merged, with the surviving entity operating under the name
18   Morrison Knudsen Corporation and continuing to offer the same services that MK had
19   offered for nearly a century. In 2000, however, MK changed its name to Washington
20   Group International. In 2007, engineering and construction firm URS Corp. (“URS”)
21   acquired MK, then known as Washington Group International, and its operational
22   subsidiaries, which were renamed but continued to operate as wholly owned
23   subsidiaries of URS. Despite its changes in name and ownership, MK continued to
24   offer the same types of engineering and construction services that had made it one of
25   the most influential companies ever to exist in its industry.
26         AECOM
27         20.    Headquartered in Los Angeles, California, AECOM is a subsidiary of a
28   multinational engineering firm of the same name, with expertise in design, consulting,

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1    construction, and management services. Until 2000, Plaintiff AECOM was named
2    Morrison Knudsen Corporation, an Ohio subsidiary of its Delaware parent, also called
3    Morrison Knudsen Corporation. In 2000, AECOM’s name (Morrison Knudsen
4    Corporation) changed to Washington Group International. In 2007, Washington
5    Group International and its related entities were acquired by URS Corp. In 2014,
6    AECOM’s parent company, also called AECOM, acquired URS and its related
7    entities when URS merged with an AECOM subsidiary. In connection with that
8    acquisition, Plaintiff AECOM’s name became what it is today: AECOM Energy &
9    Construction, Inc.
10         21.    The AECOM entities employ more than 87,000 people around the globe,
11   and provide services to a wide range of clients in over 150 countries. The new World
12   Trade Center in New York, the Hong Kong International Airport, Dubai Healthcare
13   City, London Gateway, The Royal Bank of Scotland and, closer to home, the new Los
14   Angeles NFL stadium being built for the Chargers, are among the many projects
15   engineered or built by AECOM entities. For the past three years, AECOM has been
16   named one of the “World’s Most Admired Companies” by Fortune magazine.
17         22.    Despite its name changes, AECOM proudly uses the MK name, as well
18   as MK trademarks, in brochures and client presentations to tout MK and its expertise
19   as among the entities that helped make the AECOM entities the premier engineering
20   and construction firm that it is today.
21         THE MORRISON KNUDSEN MARK
22         23.    Throughout the course of its existence, MK used many trademarks,
23   including the word mark MORRISON KNUDSEN, the MK logo and the combined
24   word and design mark MKCO MORRISON KNUDSEN (each an “MK Mark”;
25   collectively, the “MK Marks”).
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1
2          24.    Through their consistent use for roughly 100 years, the MK Marks
3    achieved tremendous recognition and goodwill, and became associated with MK’s
4    premier design, engineering, and construction services. The MK Marks have
5    appeared, among other places, on construction equipment, locomotive parts, and
6    design materials, and denote the expertise of a company that built American airfields
7    in World War II, NASA’s Kennedy Space Center, and the Hoover Dam. Even today,
8    years after the company changed its corporate name, the MK Marks appear in
9    AECOM promotional materials detailing a century of design, engineering and
10   construction expertise.
11         25.    Over the course of many decades, MK had several trademark
12   registrations for engineering and construction services, including, but not limited to,
13   the following:
14         Reg. No. 0980525; Registered Mar. 12, 1974–Nov. 18, 1980.
15         Reg. No. 0980526; Registered Mar. 12, 1974–Nov. 18, 1980.
16         Reg. No. 1176535; Registered Nov. 3, 1981–May 27, 1988.
17         Reg. No. 1176536; Registered Nov. 3, 1981–May 27, 1988.
18         Reg. No. 1699437; Registered July 7, 1992–Feb. 5, 2016.
19         Reg. No. 1716505; Registered Sept. 15, 1992–Feb. 5, 2016.
20         Reg. No. 1744815; Registered Jan. 5, 1993–Feb. 5, 2016.
21         Reg. No. 1874224; Registered Jan. 17, 1995–Jan. 26, 2002.
22         Reg. No. 1874254; Registered Jan. 17, 1995–Jan. 26, 2002.
23         Reg. No. 1900555; Registered June 20, 1995–June 29, 2002.
24         Reg. No. 1921850; Registered Sept. 26, 1995–July 20, 2002.
25         Reg. No. 2199496; Registered Oct. 27, 1998–May 30, 2009.
26         26.    Although the last registrations for the MK Marks lapsed in 2016,
27   AECOM has been using the MK Marks in its marketing materials to refer to MK and
28   its goodwill. They retain residual goodwill to this day, which belongs to AECOM.

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1                                   DEFENDANTS’ FRAUD
2          Defendants Take over Two Dissolved Affiliates of MK and Two Unrelated
3          Entities That They Renamed as MK Affiliates
4
           27.    In 2008, unbeknownst to MK, Defendants began what would become an
5
     intricate series of frauds designed to trade off, and indeed take over, the MK identity.
6
7          Morrison-Knudsen Services
8          28.    Defendants first fraudulently took over Morrison-Knudsen Services, Inc.,
9    an affiliate of MK that was incorporated in 1982 but dissolved in 2002 when its Vice
10   President and General Counsel, Richard Parry, along with its Secretary, Craig G.
11   Taylor, filed a certificate of dissolution with the Nevada Secretary of State.
12         29.    On July 28, 2008, however, Hale, purporting to be President of Morrison-
13   Knudsen Services but acting fraudulently on behalf of all Defendants, revived that
14   corporation. To do so, he filed a Certificate of Revival of a Nevada Corporation,
15   seeking reinstatement of that entity, falsely swearing under penalty of perjury that he
16   had authority from the board of directors of Morrison-Knudsen Services, Inc. to do so.
17   Based on that false statement, Morrison-Knudsen Services, Inc. was revived. In the
18   Certificate of Revival, Hale, acting on behalf of all Defendants, listed Blum as Vice
19   President and the Registered Agent for service of process at 2756 N. Green Valley
20   Parkway #414, Henderson, Nevada 89014 (which appears to be a UPS Store), and
21   listed himself as President and Ripley as Secretary, with an address of 6433 Topanga
22   Canyon Blvd #165, Woodland Hills, CA 91303. Each year thereafter, Defendants
23   filed fraudulent statements of officers and directors, under penalty of perjury.
24         30.    By at least mid-2011, Defendants had moved to their current business
25   address on Century Park East in Los Angeles. On May 24, 2011, Topolewski, acting
26   on behalf of all Defendants, filed the annual list of officers and directors of the
27   fraudulently-revived Morrison-Knudsen Services, Inc. listing himself as Chairman,
28   Hale as President, Blum as Vice President, and Ripley as Secretary, all with the

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1    address of 2049 Century Park East, Suite 3850, Los Angeles, California 90067. He
2    also listed Blum as the agent for service of process at the same UPS Store in
3    Henderson, Nevada.
4          31.    Zukaloff, who listed himself as the company’s “Compliance Officer,”
5    signed a list of officers and directors of Morrison-Knudsen Services, Inc., sworn under
6    penalty of perjury, which he filed with the Nevada Secretary of State in May 2013.
7
           Morrison Knudsen Corporation of Viet Nam
8
9          32.    Defendants similarly took over another dissolved Nevada affiliate of MK,
10   Morrison Knudsen Corporation of Viet Nam. That entity had been incorporated in
11   1996, but was dissolved in 2002 by Richard Parry, its General Counsel and Corporate
12   Secretary. On October 22, 2014, however, Topolewski and Blum, acting on behalf of
13   all Defendants, submitted a form to the Nevada Secretary of State asking to have
14   Morrison Knudsen Corporation of Viet Nam reinstated, and swearing under penalty of
15   perjury that they had the authority from the Board of Directors of that company to do
16   so. The certificate of revival listed Topolewski as President, Secretary and Treasurer,
17   Blum as Vice President, and both Ripley and Hale as Directors. The address for each
18   of the officers was 2049 Century Park East, Suite 3850, Los Angeles, California
19   90067. The Certificate of Revival also listed Blum as the agent for service of process,
20   at the same UPS Store address in Henderson, Nevada, that Defendants used for
21   service of process for each of the other Defendant entities. Topolewski’s and Blum’s
22   statements under oath were false: they had no authority to take any action whatsoever
23   on behalf of the dissolved Morrison Knudsen Corporation of Viet Nam. Nonetheless,
24   with their false sworn statement to the government of Nevada, Morrison Knudsen
25   Corporation of Viet Nam was revived.
26         33.    On October 30, 2014, Topolewski, again falsely swearing that he had the
27   authority to do so, changed the name of Morrison Knudsen Corporation of Viet Nam
28   to “Morrison Knudsen Corporation.” In reliance on this false statement, the Nevada

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 1   Secretary of State recorded the name change. Each year since then, Defendants filed
 2   fraudulent statements of officers and directors, under penalty of perjury.
 3
           Morrison Knudsen International
 4
 5         34.    Defendants also changed the name of an existing unrelated company that
 6   Defendants had operated for years, to make it appear to be an affiliate of MK. In
 7   2012, Topolewski was President and Secretary of E Planet Communications, Inc., a
 8   Nevada corporation formed in 2011. On May 23, 2016, E Planet Communication’s
 9   Compliance Officer, Zukaloff, filed a Certificate of Amendment with the Nevada
10   Secretary of State changing E Planet Communications Inc.’s name to Morrison
11   Knudsen International Inc. The most recent list of officers and directors of this entity
12   was filed with the Nevada Secretary of State in January 2017 by Blum under penalty
13   of perjury. In that document, Blum listed himself as Vice President and listed 2049
14   Century Park East, Suite 3850, Los Angeles, California 90067, as the address for each
15   of the company’s officers and directors. Until June 28, 2017, the address for the agent
16   for service of process for this entity was listed as 2657 North Green Valley Parkway,
17   #414, Henderson, Nevada 89014, the same UPS Store address that Defendants used
18   for service of process for each of the other Defendant entities.
19
20         Morrison-Knudsen Company

21
           35.    Finally, Defendants also fraudulently took control of a wholly unrelated
22
     defunct entity and renamed it to indicate that it too was an affiliate of MK (which it
23
     was not). Westland Petroleum Corporation (“WPC”) was an entity incorporated in
24
     Nevada in 1926 that had fallen out of good standing in or around 2013. On October 6,
25
     2016, however, Defendants, through “John Anderson,” listed as the Vice President of
26
     WPC, requested and received reinstatement of WPC with the Nevada Secretary of
27
     State. That same day, “Anderson,” an agent of Defendants, filed a list of officers and
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 1   directors, citing 2049 Century Park East, Suite 3850, Los Angeles, California 90067
 2   as the address for several of the officers and directors, and submitted a change of
 3   registered agent form, listing himself as the agent for service of process, with the same
 4   UPS Store address in Henderson, Nevada, that Defendants used for service of process
 5   for each of the other Defendant entities.
 6         36.    On or about October 18, 2016, Defendants requested that WPC’s name
 7   be changed to Morrison-Knudsen Company, Inc., a change that was thereafter
 8   reflected on the books and records of the Nevada Secretary of State. The Certificate
 9   of Amendment changing the company’s name was signed by Ripley. Each of those
10   forms was signed and submitted to the Nevada Secretary of State with the false
11   statement, sworn under penalty of perjury, that the signer had the authority to act on
12   behalf of the company.
13
           Defendants’ Fraudulent Statements to the USPTO
14
15         37.    Defendants also made knowing false statements to a federal government
16   agency, the United States Patent & Trademark Office (“USPTO”). At all relevant
17   times until November 10, 2014, the USPTO’s records for MORRISON KNUDSEN,
18   Reg. No. 1716505 and MKCO MORRISON KNUDSEN, Reg. No. 1744815, used
19   MK’s Boise, Idaho address. On November 10, 2014, however, Hale, acting on behalf
20   of all Defendants, submitted “change of address” requests to the USPTO, seeking to
21   change the address for Reg. No. 1744815 and Reg. No. 1716505 to the address used
22   by Defendants: 2049 Century Park East, Suite 3850, Los Angeles, California 90067
23   and to the email address of Todd.Hale@Morrison-Knudsen.com. In doing so,
24   knowingly made false representations to the USPTO: MK’s address had not changed,
25   and neither MK nor its attorney of record authorized Hale to change the registrations’
26   records at all, let alone to change the addresses to physical and electronic addresses
27   controlled by Defendants. In reliance upon Hale’s fraudulent statement, the USPTO
28   changed the addresses of record for those two registrations to Defendants’ address and

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 1   Hale’s email address. Defendants effectively then had control of MK’s trademark
 2   registrations, No. 1744815 and No. 1716505.
 3         38.    Defendants’ fraud on the USPTO did not end there. One year later, on
 4   November 11, 2015, Zukaloff, acting on behalf of all Defendants, forged an
 5   assignment of Reg. No 1744815 to themselves as “Morrison Knudsen Corporation,
 6   2049 Century Park East, Suite 3850, Los Angeles, California 90067.” Defendants
 7   listed an email address associated with the domain of the Fraudulent Website,
 8   pat@morrison-knudsen.com.
 9         39.    One month after Reg. No. 1744815 was cancelled, Defendants made yet
10   more false statements to the USPTO. On March 26, 2016, Defendants applied to
11   register the mark MORRISON KNUDSEN, falsely representing to the USPTO that
12   they had the right and authority to do so and that the mark’s first use in commerce was
13   “at least as early as April 18, 1933,” i.e., a date when MK, not Defendants, used the
14   “Morrison Knudsen” name. In reliance on Defendants’ false affirmation that they
15   were the rightful owners of the mark and had the right to claim a first use date of April
16   18, 1933, the USPTO issued Registration No. 5077287 for MORRISON KNUDSEN
17   on November 8, 2016, for the following services: Construction and repair services in
18   connection with public and private sector projects, namely, construction of dam sites
19   and utility facilities, construction of bridge, road, rail, marine and air transportation
20   facilities, and construction of industrial facilities; General construction contracting.
21   The registrant is listed as “Morrison Knudsen Corporation” with an address at 2049
22   Century Park East Suite 3850, Los Angeles, California 90067.
23         40.    Having defrauded the USPTO into changing the registration records of
24   the MK Marks and issuing Defendants their own registration, and having defrauded
25   the Nevada Secretary of State into reinstating and renaming corporations such that
26   they bear the “Morrison Knudsen” name and list Defendants as their officers and
27   directors, Defendants now masquerade as MK to the general public and to the
28   engineering and construction industry. On the Fraudulent Website, Defendants

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 1   pretend to be the actual MK, describing MK’s history and some of the many projects
 2   MK designed, engineered and constructed. They do so, in part, by using images of
 3   MK projects. A snapshot of the home page of the Fraudulent Website is depicted
 4   below.
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18         41.   Among other false statements, in a section titled “About MK,”
19   Defendants include a detailed description of MK’s corporate history and use video
20   documentaries about MK that MK produced, doing so in a way that falsely claims
21   MK’s history and achievements as their own.
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           42.   Lest there be any doubt that Defendants are pretending to be MK, they
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     refer to MK and its work by using “we” and “our.” Indeed, Defendants go so far as to
27
     say: “We are the world’s largest dam builder and constructor of hydro power projects
28

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 1   with 160 dams built in the Company’s history along with 100 hydro power plants;”
 2   Defendants well know that statement actually describes MK (now AECOM), not
 3   Defendants.
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           43.     Defendants have engaged in this elaborate fraud so that they can use the
14
     Fraudulent Website to deceive others for financial gain. On a page titled “Equipment
15
     For Sale,” Defendants offer for sale construction equipment ranging from used
16
     tractors to refurbished dump valves. Indeed, as of the date of this complaint,
17
     Defendants list for sale a 2002 Transcraft Step Deck, twelve Caterpillar 631E II’s, six
18
     Caterpillar 637D’s, ten Northern Toolboxes, one Caterpillar D9R, and five water
19
     towers—many of which bear the Morrison Knudsen name and logo, effectively
20
     reinforcing the message that these products are being offered for sale by MK after
21
     having been used, maintained, and inspected by MK, all of which is false. Because of
22
     Defendants’ false statements on the Fraudulent Website and because of Defendants’
23
     use of the MK Marks on the pictured equipment, purchasers and prospective
24
     purchasers of the equipment are likely to be confused and deceived.
25
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 1       r;;;;. MORRISON          HOME     ABOUT MK      CURRENT PROJECTS     DAMS     SPACE     MINING    NAVAL     POWER      INDUSTRIAL   OIL & GAS

         ~ ~N                                              INFRASTRUCTURE      EQUIPMENT FOR SALE     FINANCE      CONTACT US

 2
 3    1999 TO 2001 CATERPILLAR 631E II

 4
      Comes with radial tires, EROPS, air conditioning , 16,000 to 22,000 hours, tight necks, sandblasted and painted. 12 available. Located in California
 5    and Colorado. $180,000.00 each.


 6    Contact Equipment Sales at 310-275-1359

      sales@morrison-knudsen.com
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      Equipment For Sale
18
19    2002 48' Aluminum ll'anscraft Step Deck


20    Comes with low profile 22.5 radials, pipe racks, spread axles, 4 tool boxes and 20 slide winches. Located In Los Angeles. $22,000.00

21    sales@morrison-knudsen.com


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 1         44.    Defendants also seek to profit another way: by soliciting equity positions
 2   in third party contracts. Specifically, on the Fraudulent Website, Defendants falsely
 3   claim they are currently pursuing projects across the United States, displaying images
 4   of multiple project sites and showing the use of construction equipment similar to that
 5   listed for sale. On a separate Finance page, Defendants falsely claim that they can
 6   assist others by “taking equity positions in a variety of projects,” and that they can
 7   “back your project with [MK’s] engineering capabilities, construction resources, . . .
 8   equipment lend/lease and financing.” Defendants’ statements are false: Defendants
 9   cannot actually back anyone’s project with MK’s engineering capabilities or
10   construction resources, because Defendants are not MK, but mere imposters. Notably,
11   Defendants list Ripley, along with his email address and Defendants’ phone number,
12   as the person to contact concerning such opportunities on the Finance page of the
13   Fraudulent Website.
14
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23         45.    At no point did Defendants receive authorization to use the Morrison
24   Knudsen name or the MK Marks, or claim any association, affiliation, or sponsorship
25   whatsoever. Through their unauthorized conduct, however, Defendants have
26   succeeded in deceiving third parties into believing that they are the real MK. Indeed,
27   online searches for “Morrison Knudsen” return the Fraudulent Website at or near the
28   top of the results and the Wikipedia page for MK wrongly identifies the Fraudulent

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 1   Website as MK’s official website and wrongly claims that MK changed its name in
 2   2007 to Morrison-Knudsen International, one of the entities Defendants now control.
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16         Defendants’ Continued Infringement Despite Notice
17         46.   In May of 2017, AECOM wrote to Defendants requesting that
18   Defendants cease any unauthorized usage of the Morrison Knudsen mark and never
19   again claim an affiliation with MK or its projects. Ripley responded, accusing
20   AECOM of fraudulently misrepresenting its relationship to MK, and threatening to
21   pursue legal action. On June 13, 2017, AECOM replied, detailing the acquisition
22   history of MK and including links to supporting SEC documents. AECOM also
23   demanded, among other things, that Ripley inform AECOM of any basis for believing
24   that Defendants have the right to claim to be MK. As of the date of this complaint,
25   neither Ripley, nor any other Defendant, has responded. Defendants’ infringement
26   and demonstrably false claims of being MK continue to harm AECOM and its legacy
27   as the successor to MK and its goodwill.
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 1                                            COUNT I
 2                   (False Designation of Origin/Affiliation/Passing Off)
 3
           47.    AECOM incorporates and realleges by reference each and every
 4
     paragraph herein as if set forth in full in this count.
 5
           48.    Defendants’ actions as alleged herein violate 15 U.S.C. § 1125(a)(1)(A).
 6
     Through their statements on the Fraudulent Website and in press releases, and by
 7
     using the domain name of the Fraudulent Website (www.morrison-knudsen.com),
 8
     Defendants pass themselves off as MK, and pass off MK’s celebrated projects and
 9
     history as their own. Defendants then use MK’s history and experience, the Morrison
10
     Knudsen name and the MK Marks, which retain residual goodwill, to pass off and sell
11
     construction-related products and services. In doing so, Defendants falsely designate
12
     the origin of their products and services as coming from MK, which they do not, and
13
     falsely convey an association and affiliation with, as well as a sponsorship by, MK.
14
           49.    As a result of Defendants’ conduct, the public and potential consumers of
15
     the types of products and services Defendants offer are likely to be confused and
16
     deceived.
17
           50.    Defendants’ actions have been and continue to be knowing and willful.
18
           51.    As a direct and proximate result of Defendants’ conduct, AECOM has
19
     suffered irreparable harm and will continue to suffer such harm unless Defendants are
20
     enjoined from such further conduct.
21
22                                            COUNT II
23
24                    (False Advertising in Violation of the Lanham Act)

25
           52.    AECOM incorporates and realleges by reference each and every
26
     paragraph herein as if set forth in full in this count.
27
           53.    Defendants’ actions as alleged herein violate 15 U.S.C. § 1125(a)(1)(B).
28

                                                  18
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 1   On the Fraudulent Website, Defendants falsely claim that MK and AECOM projects
 2   are Defendants’ projects, and that Defendants were involved with and, indeed, are the
 3   principals behind those projects. In addition, Defendants falsely state that the
 4   products and services they offer come from MK and that they can “back your project
 5   with [MK’s] engineering capabilities, construction resources, . . . equipment
 6   lend/lease and financing.” Defendants also falsely claim, in press releases, that MK is
 7   bidding and winning contracts. These press statements falsely advertise to the public
 8   that MK is responsible for projects with which MK is not actually involved.
 9   Defendants’ statements about the nature and quality of the products and services they
10   provide, as set forth herein, are false and likely to deceive, indeed defraud, actual and
11   potential customers and business partners. Defendants’ statements injure AECOM
12   commercially, by diminishing the value of their strategic acquisition investments.
13   Defendants’ statements also cause competitive injury because Defendants’ false
14   claims that MK’s and AECOM’s accomplishments are their own impedes AECOM’s
15   right and ability to tout those accomplishments in its own presentations.
16         54.    Defendants’ actions have been and continue to be knowing and willful.
17         55.    As a direct and proximate result of Defendants’ conduct, AECOM has
18   suffered irreparable harm and will continue to suffer such harm unless Defendants are
19   enjoined from such further conduct.
20
                                             COUNT III
21
22                                         (Cyberpiracy)
23
24         56.    AECOM incorporates and realleges by reference each and every

25   paragraph herein as if set forth in full in this count.

26         57.    Defendants’ actions as alleged herein violate 15 U.S.C. § 1125(d).

27   Defendants registered the domain name www.morrison-knudsen.com at a time when

28   the MK Marks were distinctive, and indeed were registered with the USPTO. The


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 1   domain name www.morrison-knudsen.com is not just confusingly similar but nearly
 2   identical to that MK Mark. Defendants’ use of the domain name www.morrison-
 3   knudsen.com is likely to confuse or deceive consumers into believing that there is an
 4   association or affiliation between Defendants and their website on the one hand, and
 5   MK (now AECOM) on the other hand, where there is none. In registering and using
 6   the domain name www.morrison-knudsen.com, Defendants had, and continue to have,
 7   a bad faith intent to profit from the MORRISON KNUDSEN mark and its goodwill,
 8   which belongs to AECOM.
 9         58.    Defendants’ actions have been and continue to be knowing and willful.
10         59.    As a direct and proximate result of Defendants’ conduct, AECOM has
11   suffered irreparable harm and will continue to suffer such harm unless Defendants are
12   enjoined from such further conduct.
13
                                             COUNT IV
14
15                          (CA Common Law Unfair Competition)
16
17         60.    AECOM incorporates and realleges by reference each and every

18   paragraph herein as if set forth in full in this count.

19         61.    Defendants’ actions as alleged herein violate California Common Law.

20   AECOM has common law trademark rights through the strategic use of the MK

21   Marks, which retain residual goodwill, in promotional materials.

22         62.    Defendants falsely claim MK’s storied history of over 100 years as their

23   own and use the Morrison Knudsen name and MK Marks in connection with their

24   offering construction equipment and related services, despite having no affiliation or

25   association with MK.

26         63.    Defendants’ conduct is likely to cause consumer confusion as to whether

27   Defendants’ offerings originate from MK (now AECOM), or are associated, affiliated,

28   connected with, or approved or sponsored by AECOM. Moreover, Defendants’


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 1   references to MK and use of the MK Marks deprives AECOM of the goodwill from
 2   MK and the MK Marks that it rightfully owns.
 3         64.    Defendants’ actions have been and continue to be knowing and willful.
 4         65.    As a direct and proximate result of Defendants’ conduct, Plaintiff has
 5   suffered irreparable harm and will continue to suffer such harm unless Defendants are
 6   enjoined from such further conduct.
 7
                                             COUNT V
 8
 9                             (CA Statutory Unfair Competition)
10
11         66.    AECOM incorporates and realleges by reference each and every

12   paragraph herein as if set forth in full in this count.

13         67.    As described herein, Defendants have engaged in fraudulent, unfair and

14   unlawful conduct in violation of Cal. Bus. & Prof. Code §§ 17200 et seq., including

15   through the fraudulent statements to the Nevada Secretary of State, to the USPTO, on

16   the Fraudulent Website and in the press, claiming that Defendants are MK and the

17   products and services they offer come from MK.

18         68.    Defendants’ actions have been and continue to be knowing and willful.

19         69.    As a direct and proximate result of Defendants’ conduct, AECOM has

20   suffered injury and irreparable harm and will continue to suffer such injury and

21   irreparable harm unless Defendants are enjoined from such further conduct.

22
                                             COUNT VI
23
24                              (CA Statutory False Advertising)
25
           70.     AECOM incorporates and realleges by reference each and every
26
     paragraph herein as if set forth in full in this count.
27
           71.    Defendants’ actions as alleged herein violate Cal. Bus. & Prof. Code
28

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 1   § 17500. On the Fraudulent Website, Defendants falsely claim that MK and AECOM
 2   projects are Defendants’ projects, and that Defendants were involved with and,
 3   indeed, are the principals behind those projects. In addition, Defendants falsely state
 4   that the products and services they provide come from MK and that they can “back
 5   your project with [MK’s] engineering capabilities, construction resources, . . .
 6   equipment lend/lease and financing.” Defendants also falsely claim, in press releases,
 7   that MK is bidding and winning contracts. These press statements falsely advertise to
 8   the public that MK is responsible for projects with which MK is not actually involved.
 9   Defendants’ statements about the nature and quality of the products and services they
10   offer, as set forth herein, are false and likely to deceive, indeed defraud, actual and
11   potential customers and business partners. Defendants’ statements injure AECOM
12   commercially, by diminishing the value of their strategic investments. Defendants’
13   statements also cause competitive injury because Defendants’ false claims that MK’s
14   and AECOM’s accomplishments are their own impedes AECOM’s right and ability to
15   tout those accomplishments in its own presentations.
16         72.    Defendants’ actions have been and continue to be knowing and willful.
17         73.    As a direct and proximate result of Defendants’ conduct, AECOM has
18   suffered irreparable harm and will continue to suffer such harm unless Defendants are
19   enjoined from such further conduct.
20
                                             COUNT VII
21
22                  (Petition for Cancellation of Trademark Registration)
23
24         74.    AECOM incorporates and realleges by reference each and every

25   paragraph herein as if set forth in full in this count.

26         75.    Defendants’ actions as alleged herein violate 15 U.S.C. § 1064. AECOM

27   is being irreparably harmed and damaged by Defendants’ registration of the

28   MORRISON KNUDSEN mark, Registration No. 5077287, on the principal register.


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 1         76.    Defendants have committed fraud on the USPTO as set forth herein.
 2         77.    AECOM has rights to the MK Marks that are prior to Defendants’
 3   claimed rights and, indeed, Defendants’ claimed rights and usage are actually the
 4   rights and usage of AECOM. Defendants registration falsely identifies the source of
 5   Defendants’ goods and services and is likely to cause confusion.
 6         78.    AECOM requests that Registration No. 5077287 be cancelled.
 7
                                     PRAYER FOR RELIEF
 8
 9         WHEREFORE, Plaintiff AECOM prays that this Court provide relief by:
10
11         1.     Preliminarily and permanently enjoining and restraining each of the

12   Defendants, and each of their officers, directors, agents, employees and all other

13   individuals, firms, corporations, associations and partnerships affiliated, associated or

14   acting in concert with them, from using the Morrison Knudsen name, any of the MK

15   Marks, or any other mark, symbol, name, domain name or logo that is likely to cause

16   confusion or to cause mistake or to deceive people into believing that Defendants or

17   any services or goods that Defendants entered into the stream of commerce originate

18   from MK or AECOM, are in any way sponsored, endorsed, licensed by MK or

19   AECOM, or are affiliated with MK or AECOM;

20         2.     Preliminarily and permanently enjoining and restraining each of the

21   Defendants, and each of their officers, directors, agents, employees and all other

22   individuals, firms, corporations, associations and partnerships affiliated, associated or

23   acting in concert with them, from falsely stating that they are MK or any related

24   entity, or that they are associated in any way with MK or AECOM or their projects;

25         3.     Ordering Defendants to provide AECOM an accounting of their profits

26   and advantages received from improperly using the MK Marks and the Morrison

27   Knudsen name;

28

                                                23
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 1         4.    Ordering that the domain name www.morrison-knudsen.com be
 2   transferred to the control of AECOM;
 3         5.    Ordering that control of the corporate records for Defendants Morrison-
 4   Knudsen Services, Inc. and Morrison Knudsen Corporation be transferred to
 5   AECOM;
 6         6.    Ordering that Defendant Morrison Knudsen Company, Inc. be dissolved;
 7         7.    Ordering that Defendant Morrison Knudsen International' s corporate
 8   name be returned to E Planet Communications, Inc. or such other name that does not
 9   consist of or incorporate "Morrison Knudsen," MK, or any name confusingly similar
10   to "Morrison Knudsen";
11         8.    Ordering that Defendants take all available steps to retract and correct
12   statements made in other media or to actual or potential customers and business
13   partners concerning their relationship with MK or MK's accomplishments;
14         9.    Awarding AECOM its reasonable attorneys' fees and costs pursuant to
15   15 U.S.C. § 1117 or as allowed by any other statute or legal doctrine, including
16   California Code of Civil Procedure§ 1021.5;
17         10.   A warding AECOM such other and further relief or remedy that the Court
18   may deem just and proper.
19
20   DATED: July 21, 2017                       Respectfully submitted,
21                                              KIRKLAND & ELLIS LLP
22                                              B~          -      ~                .
                                                 3
23
24
                                                Attornev (or Plaintiff_
25                                              AECOMENERGY~&
                                                CONSTRUCTION, INC.
26
27
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